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 7
 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10                                 SOUTHERN DIVISION
11
12   NATURAL IMMUNOGENICS                 CASE NO. 8:15-cv-02034-JVS (JCGx)
     CORP., a Florida Corporation,
13                                       Assigned to the Hon. James V. Selna
                     Plaintiff,          Courtroom 10C
14   vs.                                 SUPPLEMENTAL BRIEF IN
15                                       SUPPORT OF MOTION FOR
     NEWPORT TRIAL GROUP, et al.,        PARTIAL JUDGMENT ON THE
16                                       PLEADINGS IN FAVOR OF
                     Defendants.         VICTORIA C. KNOWLES AND
17                                       DAVID REID [1057]

18                                        Hearing Date:    November 16, 2020
                                          Time:            1:30 p.m.
19                                        Place:           Vacated

20                                        Hon. JAMES V. SELNA

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 1         As ordered (see Dkt. No. 1072), Defendants Knowles and Reid respectfully submit
 2 this briefing to address the effect of Fed. R. Civ. P. 9(b) and Rouse v. United States Dep’t
 3 of State, 567 F.3d 408 (9th Cir. 2009), on the Court’s Tentative Order. A copy of the
 4 Tentative Order is attached as Exhibit A to the Request by Knowles and Reid for an oral
 5 hearing (Dkt. No. 1070). The Motion for judgment on the pleadings (Dkt. No. 1057)
 6 cites Rule 9(b) on p. 1 of the Memorandum of Points and Authorities, and it cites Rouse
 7 on p. 9. The Reply (Dkt. No. 1063) cites them on pp. 2, 8, 9 and 10.
 8                                        *      *      *
 9         The Rouse case did not involve Rule 9(b) or RICO fraud claims. Thus, Rouse
10 simply illustrates that speculation over causation requires dismissal under Rule 12(b)(6) –
11 and therefore, it also requires dismissal under the functionally identical standard of Rule
12 12(c) – even when (unlike here) the allegations do not purport to allege fraud. See 567
13 F.3d at 417; see also, e.g. Linderoth v. Capistrano Unified Sch. Dist., 2017 U.S. Dist.
14 LEXIS 230368, *15-16 (C.D. Cal. Jan. 30, 2017) (speculative labor law injuries). The
15 same principle applies with even greater force in civil RICO cases like this one, because
16 of Rule 9(b)’s requirement of particularity in pleading the circumstances of an alleged
17 fraud. “[A] speculative injury … is not compensable under RICO.” Imagineering, Inc.
18 v. Kiewit Pacific Co., 976 F.2d 1303, 1311 (9th Cir. 1992) (affirming dismissal under
19 Rule 12(b)(6)); see also Basco v. Toyota Motor Corp., 2010 U.S. Dist. LEXIS 147632,
20 *14 (C.D. Cal. Mar. 3, 2010) (“Rule 9(b) demands more than Plaintiffs provided in the
21 FAC … to allege both but-for and proximate causation with particularity”). Likewise,
22 “[t]o state a claim for RICO conspiracy where the predicate acts sound in fraud, the
23 [Plaintiffs] must … allege with particularity … an injury caused by an unlawful overt act
24 performed in furtherance of the agreement.” Lui Ciro, Inc. v. Ciro, Inc., 895 F. Supp.
25 1365, 1383-1384 (D. Haw. 1995) (citing Alfus v. Pyramid Technology Corp., 745 F.
26 Supp. 1511, 1520-21 (N.D. Cal. 1990)).
27         As shown by Knowles and Reid in their Motion, Plaintiff NIC does not (and, it
28 cannot) plead plausibly and with particularity that NIC suffered any injury to business or
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 1 property “by reason of” the acts of alleged RICO misconduct. See 18 U.S.C. § 1964(c).
 2 “When a court evaluates a RICO claim for proximate causation, the central question it
 3 must ask is whether the alleged violation led directly to the plaintiff’s injuries.” Anza v.
 4 Ideal Steel Supply Corp., 547 U.S. 451, 461, 126 S. Ct. 1991, 164 L. Ed. 2d 720 (2006);
 5 see also UFCW Cent. Pa. v. Amgen, Inc., 400 Fed. Appx. 255, 257 (9th Cir. Oct. 21,
 6 2010) (affirming dismissal of RICO claims under Rule 9(b), where “the complaint failed
 7 to plead a cognizable theory of proximate causation that links [Defendant]’s alleged
 8 misconduct to [Plaintiffs]’ alleged injury”). Here, the only claimed injury to NIC’s
 9 business or property is the attorney’s fees that NIC incurred in the underlying Nilon v.
10 NIC Action. See Fourth Am. Compl. (Dkt. No. 1007), ¶¶ 447-51. Yet, most of NIC’s
11 voluminous allegations of misconduct contain nothing that even attempts to show
12 reliance or any resulting causal connection with any of those attorney’s fees. For
13 instance, the “Wiretapping Scheme” (also called the “CIPA Scheme”) as described in ¶¶
14 31-39 caused none of those attorney’s fees, and indeed, it had no effect upon NIC
15 whatsoever; to the contrary, NIC does not (and evidently, it cannot) allege that any
16 frivolous lawsuit accusing NIC of violating the California Invasion of Privacy Act was
17 ever threatened or filed against it. Likewise, the “Lanham Act Scheme” described in ¶¶
18 40-45 (involving Strataluz, LLC) also caused no injury whatsoever to NIC; to the
19 contrary, NIC does not (and evidently, it cannot) allege that NIC ever paid money to
20 settle any frivolously threatened lawsuits for false advertising in the sale of “male
21 enhancement products” or anything else. Therefore, the Tentative Order would be
22 mistaken in overlooking that none of these particular acts of alleged misconduct led
23 directly to any of NIC’s claimed injuries.
24         Instead, only the “CLRA Scheme” described in ¶¶ 26-30 implicates the underlying
25 Nilon v. NIC Action – where the underlying allegations accused NIC of violating the
26 California Consumer Legal Remedies Act (the “CLRA”) by making its (still)
27 unsupported claims concerning the purported health benefits of colloidal silver. The
28 Tentative Order describes (on p. 13) citations by NIC to “numerous points that the Nilon
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 1 court relied on specific misrepresentations by Knowles and Reid” in that action – namely,
 2 ¶¶ 121, 131, and 448-449. In fact, ¶¶ 121 and 131 both concern only a single act by the
 3 court in Nilon v. NIC, namely, the decision on August 22, 2014 to allow Mr. Sandoval’s
 4 substitution for Mr. Nilon as the class representative, which (as alleged in ¶ 121)
 5 supposedly “… allowed the Underlying Action to continue for another nine months,
 6 which increased litigation costs for NIC ….” But the Fourth Amended Complaint simply
 7 alleges no facts plausibly suggesting that the court would have dismissed the Nilon v.
 8 NIC Action at the time of that decision on August 22, 2014 – thereby saving NIC its
 9 future attorney’s fees in the case – not even if the substitution motion had been denied.
10 See Motion at pp. 8-9; Reply at pp. 9-10. Consequently (and obviously), NIC’s
11 attorney’s fees after August 22, 2014 were not caused by the court’s decision to grant the
12 substitution. So, there is simply no “but-for” causation connecting those subsequent fees
13 with the alleged misrepresentations that led to the court’s decision on substitution.1 And
14 on top of all this, any such non-existent damages would also fail to support “proximate
15 cause as well,” which RICO also requires. See Hemi Grp., LLC v. City of New York, 559
16 U.S. 1, 9, 130 S. Ct. 983, 175 L. Ed. 2d 943 (2010) (quoting Holmes v. SIPC, 503 U.S.
17 258, 268, 112 S. Ct. 1311, 117 L. Ed. 2d 532 (1992)). This is so, because a preclusive
18 ruling establishes that “[a] review of the entire record demonstrates that this case has
19 been prolonged due to the actions of both Defendant’s counsel and Plaintiff’s counsel.”
20 See Order Denying Defendant’s Motion for Sanctions (Dkt. No. 1058-8) at 10 (emphasis
21 in original). Under the controlling common-law principles, contributory negligence
22 precludes NIC establishing proximate cause. See Motion at pp. 9-11; Reply at pp. 3, 11.
23         The Tentative Order would mistakenly overlook all of these defects in the
24 allegations in ¶¶ 121 and 131 of causal injury flowing from the substitution decision of
25   1
     Essentially the same point also applies to the decisions on September 30, 2013
26 (allowing leave to amend the complaint) and on April 15, 2014 (certifying the class). See
   Fourth Am. Compl., ¶¶ 81 & 86. As shown in the Motion (at pp. 7-8), judicially-
27
   noticeable materials demonstrate conclusively that the court made those decisions not
28 relying upon the alleged misrepresentations that NIC complains of.
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 1 August 22, 2014. Furthermore – and contrary to the citation by NIC and the recitation on
 2 p. 13 of the Tentative Order – the allegations of causation in ¶¶ 448 and 449 are also
 3 insufficient. Paragraph 448 merely alleges, in conclusory fashion, that “NIC relied to its
 4 detriment on the representations made by the NTG Defendants, Nilon, and Sandoval.”
 5 But see In re WellPoint, Inc. Out-of-Network UCR Rates Litig., 903 F. Supp. 2d 880,
 6 915-16 (C.D. Cal. 2012) (holding a similar RICO allegation insufficient to withstand a
 7 motion to dismiss; cited in the Tentative Order at pp. 12-13). Paragraph 449 purports to
 8 elaborate, by alleging that:
 9               Plaintiff NIC reasonably relied on NTG—licensed attorneys—to obey
10         and properly assert statutes, court orders, court rules, rules of evidence,
11         written agreements, representations to the court by officers of the court,
12         ethical rules, and representations made under oath to the court by NTG’s
13         attorneys, agents, and clients. See Living Designs, Inc. v. E.I. Dupont de
14         Nemours & Co., 431 F.3d 353, 359 (9th Cir. 2005).
15 This verbiage simply contains no plausible allegation of any actual reliance by NIC, as
16 required to show “but-for” causation of any injury. See Painters & Allied Trades Dist.
17 Council 82 Health Care Fund v. Takeda Pharms. Co. Ltd., 943 F.3d 1243, 1259 (9th Cir.
18 2019). Nothing in the Living Designs opinion suggests anything to undermine Painters.
19 (Indeed, the citation in ¶ 449 to Living Designs is entirely irrelevant and extraneous.)
20 Despite the ¶¶ 448-449 verbiage, NIC had its own counsel in the case, and NIC relied
21 solely upon them, not upon Newport Trial Group (or “NTG”). Nobody actually relied
22 upon the NTG demand letter of December 27, 2011, since NIC does not allege that it
23 acceded to any of the letter’s demands. See Fourth Am. Compl., ¶¶ 58-62. Nobody
24 actually relied upon the allegations of the Nilon v. NIC complaint filed by NTG in state
25 court on March 2, 2012. See id., ¶¶ 63-74. Instead, NIC’s counsel filed an answer that
26 flatly denied the allegations. See Dkt. No. 1058-1. Nobody actually relied upon Nilon’s
27 excuses for missing his deposition dates in May 2013, February 2014 or May 2014 –
28 since, there is no allegation that NIC or its counsel even believed those excuses to be
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 1 true. See Fourth Am. Compl., ¶¶ 88-100. And apart from those particular instances, NIC
 2 does not plead any other misrepresentations that it could have relied upon. Rule 9(b)
 3 requires pleading all such misrepresentations with particularity.
 4                                        *     *      *
 5        The RICO claims against Knowles and Reid in Counts Two and Three of the
 6 Fourth Amended Complaint (Dkt. No. 1007) should be dismissed with prejudice and
 7 without leave to amend, pursuant to Rules 8(a), 9(b) and 12(c).
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 9
     DATED: November 19, 2020                    TAULER SMITH LLP
10
                                          By:    /s/ Robert Tauler
11                                               Robert Tauler
                                                 Attorneys for Defendants
12                                               Victoria C. Knowles and David Reid
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 1                             CERTIFICATE OF SERVICE
 2        I hereby certify that on November 19, 2020, copies of the foregoing document were
 3 served by the Court’s CM/ECF system to all counsel of record in this action.
 4
     DATED: November 19, 2020                   TAULER SMITH LLP
 5
 6                                       By:    /s/ Robert Tauler
                                                Robert Tauler
 7                                              Attorneys for Defendants
                                                Victoria C. Knowles and David Reid
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